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Scott Traudt
191 Kibling Hill Rd.

Strafford VT 05072
sctraudt@gmail.com
802-318-0429
Charles Schwab Account No. 7242-6548

DATE:

Charles Schwab & Co. Inc.
3000 Schwab way
Westlake, TX 76262-8104
SEC# 801-29938, 8-16514

| Appendix I

Gentlemen:

I purchased MMTLP stock from Schwab on or about 30 November 2022.1 On 9
December, 2022, MMTLP was subject to an extremely rare U3 trading halt
authorized by the Financial Industry Regulatory Authority (“FINRA”) that at this
juncture appears to have been issued for reasons that are not defensible, but for
our purposes here in this letter | wish to begin to understand how my shares in
MMTLP were obliterated by that U3 halt on 9 December 2022, and access any and
all relevant documents, data points, trading records, communications records, and
other miscellaneous items that I need to assess what steps | may have to recover
my investment in MMTLP.

If for any of my requests Schwab asserts privilege or any SEC or FINRA rule
precluding disclosure, please cite it.

FINRA Rule 2232 requires Schwab to respond to my inquiries within the following
timeframes:
* For inquiries related to account balances. positions, or transactions. you must
respond within 2 business days.
* For inquiries related to account statements, confirmations. or other account-
related documents. you must respond within 5 business days.
* For all other inquiries, you must respond within 10 business days.
FINRA Rule 2232 also requires broker-dealers to maintain records of all customer
inquiries and responses, and to provide customers with a written acknowledgement of
receipt of their inquiries. I expect this will be followed with all of my requests.
In addition to FINRA Rule 2232, Schwab may also have internal policies and
procedures that require you to respond to my inquiries within a certain timeframe.

"It was actually a TD Ameritrade account at that time before Schwab merged with
TDA.
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These internal policies may be more stringent than the FINRA rule. and may task you
to respond to my requests within a shorter timeframe.

1. My Schwab Account Information

a. When was my account opened?

b. What was my original account number?

c. Did you ever change my account number, and if so, when and why?

d. MMTLP originally appeared in my account as MMTLP. After the trade halt it
appeared as a CUSIP number. What was that original CUSIP number?

e. Did you ever change the CUSIP number in my account for the former MMTLP
shares? If so, when and for what purpose?

2. Schwab Information

a. What are Schwab’s CRD (Central Registration Depository) number and CLK.
number?

b. Has Schwab ever had its license suspended or disciplinary action against it been
taken within the last 5 years by FINRA and/or the SEC?

c. Was Schwab licensed by FINRA to legally trade in MMTLP at the time | purchased
it?

d. Was Schwab allowing short selling of MMTLP to clients? And if it was allowing
clients to short MMTLP, did it provide shares to trade short on 5 December 2024. 6
December 2024, 7 December 2024. and 8 December 2024

e. Did Schwab provide shares to trade long of MMTLP on 6 December 2024. 7
December 2024, and 8 December 2024?

3. Trading information on MMTLP — My Ownership Interest

a. For every purchase or sale of MMTLP I made, please confirm the number of shares
bought/sold, when, and what the trade confirmation numbers were.

b. For every trade | made in MMTLP, please confirm who the market maker was who
executed those trades for Schwab on my behalf.

c. Designate who would have been the person or persons within Schwab who would
have been contacted by FINRA regarding any possible fraud in MMTLP stock?

d. For the person or persons identified in “d” above, please provide copies of any and
all emails, letters, phone calls, or text messages that show or tend to show that Schwab
was alerted to the possibility, probability, or certainty that there would be a U1, U2, or
U3 halt in MMTLP. If the Schwab has none, please tell me that affirmatively.

e. If there had been any real or constructive knowledge by Schwab that MMTLP would
be suspended or halted with a U1, U2, or U3 halt. for every communication incident for
which MMTLP was discussed I would like the following:

* Did anyone employed by Schwab sell MMTLP short from 20 November 2022
through the Schwab?
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* Date(s) of each email or letter
* Subject line(s) of each email or letter
* Content of each email or letter
* Attachments to each email or letter (if applicable)
* Date(s) and time(s) of each phone call or meeting
¢ Duration of each phone call or meeting
* Notes or summary of each phone call or meeting
* Any recordings or transcripts of each phone call or meeting (if applicable)
* The identity of each Schwab employee handling this information, its intended
recipient, and any management review of such communications.
f. Did any Schwab employee, supervisor, administrator, trade desk person, customer service
representative, owner, executive, auditor, accountant, or other personnel receive information
regarding a potential U1, U2, or U3 trade halt at any time before 9 December 2022 from any
of the following people either directly, indirectly, or constructively (with “constructively”
being defined as seeing other information available within the financial ecosystem that
MMTLP was to be annihilated):
Patricia Casimates (FINRA)
Chris Stone (FINRA)
John Meegan (Hefren-Tillotson)
Tom Nicholson (D.A. Davidson & Co.)
Mathew Price (Fidelity Investments)
Jeffrey Sheftic (Lincoln Financial)
Joseph lraci (Robinhood)
Christopher Haines (Edward Jones)
Kelly Bell (Hilltop Securities)
Steven Paul Dapcic (Pershing LLC)
g. Did Schwab conduct an After Action Report (“AAR”) or reasonable facsimile
thereof to consider the implications of emails obtained by MMTLP Americans via the
Freedom of Information Act (S USCS 552) where FINRA’s operational group involved
in trade fraud had identified and flagged MMTLP as early as late November, 2022, that
there were fraud beacons flashing in MMTLP as trade anomalies multiplied at a viral
rate and broker-dealers were desperate for shares? (See Appendix A).

4, Trading information on TRCH, MMAT, and MMTLP - Prior to My Ownership
Interest

Prior to my purchase of MMTLP, did Schwab ever receive and review information on
the transition of the ticker TRCH (“Torchlight”) into MMAT (“Meta Materials”) and
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subsequently into MMTLP? * Did this review include a review of any FINRA or SEC
filings by TRCH executives and/or shareholders? If so. | would like copies of these
documents. (This question assumes that Schwab traded in TRCH and MMAT. If this is
not the case, please ignore this question.)

5. Regulatory requests
a, | would like copies of FINRA Form 211 as filed by Schwab for MMTLP.*
b. | would like copies of any and all regulatory reports you have on MMTLP.

c. | would like to know if Schwab oversold MMTLP and if any internal warnings about
being in an oversold condition were at any time before the 9 December 2022 trading
halt discussed internally. I request copies of any and all internal and external
communications incidents regarding Schwab discussing in any way, shape, or form this
situation.

d. If MMTLP was oversold by Schwab, how large was the overage? What exactly was
the share imbalance?

6. Notice

At any time before 9 December 2022, did Schwab receive any information distributed
to Schwab pursuant to SEC Rule 17a-3 that should have been shared with me but was
not regarding the status of MMTLP?

7. Fiduciary duties under the “Client Agreement.”

Schwab had a fiduciary obligation to attempt to recover my losses sustained in the U3
trading halt of MMTLP. Per the agreement and controlling SEC mandates, Schwab had
a duty to act in my best interests and to manage my account professionally, with
diligence, and with skill. This includes a duty to take reasonable steps to minimize
losses,
In the context of a U3 trading halt, Schwab had fiduciary obligation to attempt to
recover for losses caused by the halt by investigating the circumstances surrounding the
illegal U3 halt in MMTLP to determine whether the bad actors’ activities were illegal or
unethical.
If this has been done, please forward any correspondence regarding this matter and any
steps that Schwab has taken to recover my damages to include:

A. Requests of FINRA or the SEC to identify what the “event” was that

FINRA stated had happened and warranted shutting down trading in

MMTLP on 9 December 2022.

B. Requests to FINRA or the SEC asking for a time when MMTLP might

trade again and under what circumstances?

3 TRCH, MMAT, and MMTLP share a common CIK number with FINRA and the SEC:
1431959.

* This is known as the “new issue” or “initial quotation” filing that would be
necessary for Schwab to even begin to trade in MMTLP.
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C. Questions to FINRA as to why the S-1 for MMTLP stated trading
would trade until 12 December 2022 but was later changed after the fact
by FINRA in publicly released documents?

D. Asking FINRA if MMTLP has ever traded since 9 December 2022 on
any other market, as it appears that MMTLP/MMAT/TRCH traded on
FINRA’s own exchange (XADF) on 17 January 2024 where
approximately 2.2 million shares were traded?

E. Inquire as to why a security that should technically not exist
(TRCH.US) aka “Torchlight Energy Resources Inc.” (same ID number
as MMAT and MMTLP) was trading in Poland on the “XTB” market as
late as 24 June 2024? (See Appendix B). /1 is linked at
hups:/www.xtb,com/int/cashstocks/rch-us”

iad

SCOTT TRAUDT

Date:

° Is this potential evidence that TRCH/MMAT/MMTLP is being “offshored” to hide
potentially hundreds of millions of knockoffs? Have you contacted FINCENS about

this?
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Pion Responsive Record

APPENDIX A

Sent: Monday, November 29, 2021 5:03 PM

: > fRREE VTC) ke SEL CCR
JESEC Gov>: Casimates, Patricia

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attachments unless you recognize the sender and know the content is safe.

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Rrown:

Cer

Subject: Mets Materials Inc. (MMAT and MMTLP) | Next
Date: Friday, December 2, 2022 10:46:34 AM
Attachments: impaasiD Lone

“CAUTION: This email Originated from outside of the organization. Do not click links or open
attachments unless you recognize the sender and know the content is safe.

Good morning} 8). BAT KCH il believe you've had conversations with FINRA‘’s OTC Corporate
Actions team regarding the shove issuer and its proposed spin-off transaction. Would ane of you
have time on Monday or Tuesday to discuss this matter? FINRA’s Market Fraud investigations team
recently received several tips that appear to have also been sent to the SEC. Below are some
proposed times to discuss but we can work around your schedules if these don’t work for you.

Thanks.

Monday ~ between 11:30 ET and 2:30 ET or between 4:30 ET and 5:30 ET
Tuesday ~— between 4:30 ET and 5:30 ET

Rich Boyle
National Cause and Financial Crimes Detection Programs | 15200 Omega Drive, Suite 210 | Rockville, MD 20850

Phone: (240) 386 5008 | richard bovie@fnra ore | www finra.ore

FINTa.

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privileged, or confidential. Do not use, save, or copy any of that information, and do not share
it with anyone else, unless you are the intended recipient, The sender has not authorized you to
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email or any attachment by mistake, please let the sender know by replying to this email and
then deleting it.
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From: Draddy, Sam <Sam Draddy@finra ore>

Ce: fBNEY (ONG OUR  FBSEC.GOVe, PADI)
Richard <Richard Boyle@finra.org>: Gibbon, Jay <! a E>
Subject: RE. inquiry

z -looks like this MMAT/MMTELP matter has now bit my Fraud team’s radar streen fand
seemingly 2 lot af other radar screens as well). | know you have spoken to Patt: Casimates and our
Seneral Counse’’s office—but was wondering if it made sense for my Fraud team to have 3
conversation directly with you and your folks working on the matter so we are not duplicating
efforts. We are looking at the two issuers from a fraud/manipulation angle and, in fact, bluesheeting
both MMAT and MMTLP as we speak.

if you think a comparison of notes is worth a quick call—let me know a good day/time. ican set upa
200m and feel free to let me know if FG He} lor anyone else should be included.

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From: Draddy, Sam <Sam.Draddy@finra.org>
Sent: Monday, December 5, 2022 9:29 AM
ToSDNGVONTWC) SEC.GOV>
Ce: Boyle, Richard Richard Boyle inra.org>; Gibbon, lay <lay.Gibbon @finra.org> HG). Cb

“Subject RE Taury

‘CAUTION: This email originated from outside of the organization. Do not click linksoropen
attachments unless you recognize the sender andknow thecontentissafe,

the zoom invite for Ipm today. Look forward to talking to

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Search instrument...

+ TRCH.US - Cashstocks

Torchlight Energy

Losses can exceed deposits

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